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    5

    6    Attorneys for Plaintiff,
         Mike Sarieddine
    7

    8                          UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10

   11   MIKE SARIEDDINE,                           Case No. 2:18-cv-3297-CAS-AGR
   12                   Plaintiff,
                                                   DECLARATION OF STEPHEN
   13         v.                                   MCARTHUR IN SUPPORT OF
                                                   PLAINTIFF’S MOTION TO
   14   ALIEN VAPOR ENTERPRISES,                   SERVE DEFENDANT GLENN
        LLC, a Florida limited liability           POLACEK BY MAIL
   15   company; and GLENN POLACEK, an
        individual,
   16
                        Defendant.
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                                                         MCARTHUR DECL. ISO MOTION TO SERVE
                                                          DEFENDANT GLENN POLACEK BY MAIL
                                             -i-                  Case No. 2:18-cv-3297-CAS-AGR
Case 2:18-cv-03297-CAS-AGR Document 27-1 Filed 07/24/18 Page 2 of 11 Page ID #:170



    1           I, STEPHEN MCARTHUR, declare as follows:
    2        1. I am an attorney at law, duly admitted into practice before all courts for the
    3   State of California. I am an attorney with The McArthur Law Firm, P.C., counsel
    4   for Plaintiff Mike Sarieddine (“Plaintiff”). I make this Declaration in support of
    5   Plaintiff’s Motion to Serve Defendant Glenn Polacek By Mail. The matters set
    6   forth herein are of my own personal knowledge, and if called upon to testify as to
    7   such matters, I could and would do so.
    8        2. Plaintiff retained Courtesy Process Servers Miami, licensed process servers
    9   in the state of Florida, where Mr. Polacek resides, to serve him personally at his last
   10   known address of record. As set forth in the affidavit of Rebecca Boymer of
   11   Courtesy Process Servers Miami, Ms. Boymer attempted to serve Mr. Polacek
   12   personally at his address of record on nine different occasions. A true and correct
   13   copy of Ms. Boymer’s affidavit is attached as Exhibit 1.
   14        3. The address of record for Mr. Polacek is 1014 Greenturf Road, Spring Hill,
   15   Florida 34608. This is the address for Mr. Polacek’s residence according to the
   16   Florida Department of Law Enforcement. A true and correct copy of the record
   17   from the Florida Department of Law Enforcement’s website, which shows the
   18   foregoing address as the current residential address for Mr. Polacek, is attached as
   19   Exhibit 2. I last accessed this website on July 24, 2018.
   20        4. The Florida Division of Corporations lists Mr. Polacek as the “authorized
   21   person” for Alien Vapor Enterprises, LLC, the other defendant in this lawsuit. Alien
   22   Vapor Enterprises, LLC has already appeared in this case and filed an answer. This
   23   record from the Florida Division of Corporations shows that Mr. Polacek can be
   24   contacted at 1014 Greenturf Rd. Spring Hill, Florida 34608. A true and correct copy
   25   of this record from the Florida Division of Corporations is attached as Exhibit 3.
   26   //
   27   //
   28   //
                                                                MCARTHUR DECL. ISO MOTION SERVE
                                                               DEFENDANT GLENN POLACEK BY MAIL
                                                    -1-               Case No. 2:18-cv-3297-CAS-AGR
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    1         I declare under penalty of perjury under the laws of the State of California
    2   that the foregoing is true and correct.
    3         Executed on July 24, 2018, at Los Angeles, California.
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    5                                             /s/ Stephen McArthur
                                                  Stephen McArthur
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                                                                MCARTHUR DECL. ISO MOTION SERVE
                                                               DEFENDANT GLENN POLACEK BY MAIL
                                                    -2-               Case No. 2:18-cv-3297-CAS-AGR
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                          EXHIBIT 1
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                          EXHIBIT 2
   Case 2:18-cv-03297-CAS-AGR Document 27-1 Filed 07/24/18 Page 7 of 11 Page ID #:175
07/05/2018                                                                               Page 1 of 2
        Florida Department of Law Enforcement - Sexual Offender / Predator
                                                               Primary Information
                                                         Designation : Sexual Offender
                                                               Name : GLENN JOSEPH POLACEK
                                                                        Released - Subject to
                                                               Status :
                                                                        Registration
                                                  Dept of Correction# : Not Available
                                                        Date Of Birth : 12/18/1971
                                                                  Race : White
                                                                   Sex : Male
                                                                  Hair : Brown
                                                                  Eyes : Brown
                                                                Height : 5'09"
                                                               Weight : 270 lbs
    GLENN JOSEPH POLACEK                      GLENN JOSEPH POLACEK is registered as a Sexual
     Date of Image : 12/28/2017               Offender. Positive identification cannot be established
                                                    unless a fingerprint comparison is made.


                                              Aliases
GLENN J POLACEK, GLEN JOSEPH POLACEK

                                      Scars, Marks & Tattoos
              Type                            Body Location                            Count
              Scar                                Stomach                                1

                                       Address Information
             Address                  Address Source information                      Map Link
1014 Greenturf Rd                Source: REG
Spring Hill, FL 34608-8486       Received Date: 06/15/2010                              N/A
Hernando County                  Address Type: Permanent
                              Crime Information - Qualifying Offenses
Adjudication                                       Court Case        Jurisdiction &
                     Crime Description                                                  Adjudication
    Date                                            Number               State
               SEX OFFENSE, OTHER STATE
 09/29/2000      (INVOLUNTARY DEVIATE                499/00           Luzerne, PA       Guilty/convict
                 SEXUAL INTERCOURSE)
                                         Victim Information
                     Gender                                              Minor
                      Male                                                Yes
                                         Vehicle Information
 Vehicle Make    Vehicle Type     Vehicle Color    Vehicle Year     Vehicle Body       Tag Number
    FORD             AUTO            WHITE              1974             VAN             GF650S
   Case 2:18-cv-03297-CAS-AGR Document 27-1 Filed 07/24/18 Page 8 of 11 Page ID #:176
07/05/2018                                                                                  Page 2 of 2
 CHEVROLET            AUTO          TURQUOISE            1991              2 DOOR           XWD04C
   LINCOLN            AUTO             WHITE             2004              4 DOOR            839LK

                                          Vessel Information
                                     Vessel                                       Vessel    Registration
 Vessel Make       Vessel Type                  Motor Type        Hull Material
                                     Color                                         Year       Number
No registered/owned vessel information on file for this subject


Link to FDLE   If further information is needed, please contact the Florida Department of    Subject's Flyer
                      Law Enforcement EIS-MPOR Offender Registration and Data
                   Management at (1-888-357-7332) between the hours of 8:00am and
                                      5:00pm, Monday through Friday.
                     Positive identification cannot be established unless a fingerprint
                                            comparison is made.
                Any person who misuses public records information relating to a sexual
                   predator, as defined in this section, or a sexual offender, commits a
                   misdemeanor of the first degree. Please see 775.21(10)(c) for more
                                                information.
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                          EXHIBIT 3
          Case 2:18-cv-03297-CAS-AGR Document 27-1 Filed 07/24/18 Page 10 of 11 Page ID
Florida Department of State
                                            #:178                          D      C




  Department of State / Division of Corporations / Search Records / Search by Entity Name /



    Detail by Entity Name
    Florida Limited Liability Company
    ALIEN VAPOR ENTERPRISES, L.L.C.
    Filing Information

    Document Number                   L13000057953
    FEI/EIN Number                    XX-XXXXXXX
    Date Filed                        04/19/2013
    State                             FL
    Status                            ACTIVE
    Principal Address

    18819 Sakera Road
    Hudson, FL 34667

    Changed: 04/14/2015
    Mailing Address

    1014 GREENTURF ROAD
    SPRING HILL, FL 34608

    Changed: 04/14/2015
    Registered Agent Name & Address

    UNITED STATES CORPORATION AGENTS, INC.
    13302 WINDING OAKS COURT
    SUITE A
    TAMPA, FL 33612
    Authorized Person(s) Detail

    Name & Address

    Title AMBR

    POLACEK, GLENN
    1014 GREENTURF ROAD
    SPRING HILL, FL 34608


    Annual Reports

     Report Year            Filed Date
     2016                   02/03/2016
     2017                   01/07/2017
     2018                   03/31/2018
 Case 2:18-cv-03297-CAS-AGR Document 27-1 Filed 07/24/18 Page 11 of 11 Page ID
                                   #:179
Document Images

03/31/2018 -- ANNUAL REPORT               View image in PDF format

01/07/2017 -- ANNUAL REPORT               View image in PDF format

02/03/2016 -- ANNUAL REPORT               View image in PDF format

04/14/2015 -- ANNUAL REPORT               View image in PDF format

05/02/2014 -- ANNUAL REPORT               View image in PDF format

04/19/2013 -- Florida Limited Liability   View image in PDF format




                                                      Florida Department of State, Division of Corporations
